Case 2:19-cv-00276-WB Document 1-4 Filed 01/18/19 Page 1of1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

JS 44 (Rev. 06/17)

 

I. (a) PLAINTIFFS
Katherine Crockett

(b) County of Residence of First Listed Plaintiff

Philadelphia County, PA __

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Pogust Millrood, LLC; Eight Tower Bridge, Ste. 940; 161 Washington
Street; Conshohocken, PA 19428; 610-941-4204

DEFENDANTS

Raanannm

NOTE:

Attorneys (If Known)

 

County of Residence of First Listed Defendant

Luitpold Pharmaceuticals, Inc.; American Regent, Inc.; Daiichi
Sankyo, Inc.; Daiichi Sankyo Co., Ltd.; Vifor Pharmaceuticals

Suffolk County, NY _

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED

Drinker, Biddle & Reath LLP; One Logan Square, Ste. 2000;
Philadelphia, PA 19103; 215-988-2700

 

II. BASIS OF JURISDICTION (Place an “X”" in One Box Only)

 

(For Diversity Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

O 1. U.S. Government 0 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State x1 O 1 Incorporated or Principal Place o4 04
of Business In This State
4 2. U.S. Government 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place o5 &5
Defendant (indicate Citizenship of Parties in Item IT!) of Business In Another State
Citizen or Subject ofa O 3 & 3 Foreign Nation O6 06
Foreign Country
IV. N ATURE OF SUIT (riace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OT HER ST ATUTES ]
0 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 1 422 Appeal 28 USC 158 0 375 False Claims Act
O 120 Marine 0 310 Airplane XK 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 0 376 Qui Tam (31 USC
O 130 Miller Act 0 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability QO 367 Health Care/ 0 400 State Reapportionment
© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PE i © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 0 430 Banks and Banking
0 151 Medicare Act © 330 Federal Employers’ Product Liability 0 830 Patent 450 Commerce
0 152 Recovery of Defaulted Liability C1 368 Asbestos Persona} O 835 Patent - Abbreviated 0 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application |( 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability _ 1 840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY 0 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle O 370 Other Fraud C1 710 Fair Labor Standards (1 861 HIA (1395ff) C1 490 Cable/Sat TV
0 160 Stockholders’ Suits 0 355 Motor Vehicle 0 371 Truth in Lending Act C1 862 Black Lung (923) 0 850 Securities/Commodities/
0 190 Other Contract Product Liability 1 380 Other Personal © 720 Labor/Management C1 863 DIWC/DIWW (405(g)) Exchange
1 195 Contract Product Liability | 360 Other Personal Property Damage Relations C1 864 SSID Title XVI © 890 Other Statutory Actions
1 196 Franchise Injury C1 385 Property Damage 0 740 Railway Labor Act © 865 RSI (405(g)) © 89) Agricultural Acts
1 362 Personal Injury - Product Liability O 751 Family and Medical O 893 Environmental Matters
Medical Malpractice Leave Act 0 895 Freedom of Information
l REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|0 790 Other Labor Litigation FEDERAL TAX SUITS Act

 

© 210 Land Condemnation

O 220 Foreclosure

O 230 Rent Lease & Ejectment
O 240 Torts to Land

 

0 440 Other Civil Rights
0 441 Voting

O 442 Employment

O 443 Housing/

 

Habeas Corpus:
8 463 Alien Detainee
© 510 Motions to Vacate
Sentence

0 791 Employee Retirement
Income Security Act

O 870 Taxes (U.S. Plaintiff
or Defendant)

O 871 IRS—Third Party
26 USC 7609

 

 

 

 

O 896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

 

1 245 Tort Product Liability Accommodations O 530 General 0 950 Constitutionality of
© 290 All Other Real Property C1 445 Amer. w/Disabilities -] 1 535 Death Penalty IMMIGRATION State Statutes
Employment Other: © 462 Naturalization Application
0 446 Amer. w/Disabilities -| 1 540 Mandamus & Other |( 465 Other Immigration
Other 0 550 Civil Rights Actions
0) 448 Education 0 555 Prison Condition
01 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
O11. Original [K2 Removed from Ol 3 Remanded from 0 4 Reinstatedor O 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
28 U.S.C. Sec. 1332
Brief description of cause:
Plaintiff alleges personal injury tort claims related to a prescription medication.

 

 

 

 

VII. REQUESTED IN [J CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 75,000.00 JURY DEMAND: 3{ Yes No

VIII. RELATED CASE(S)
IF ANY Cee ron GE __ DOCKET NUMBER =

DATE \ SIGNATURE OF ATTORNEY OF RECORD

01/18/2019 Mea tne. C, Marbeelie

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING [FP JUDGE MAG, JUDGE
